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 -and-

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 Counsel to the Fee Examiner

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 In re                                                         ) Chapter 11
                                                               )
 SEARS HOLDINGS CORPORATION, et al.,1                          ) Case No. 18-23538 (RDD)
                                                               )
                  Debtors.                                     ) (Jointly Administered)
                                                               )

 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart Operations
 LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc. (6774); SHC Licensed
 Business LLC (3718); A&E Factory Service, LLC (6695); A&E Home Delivery, LLC (0205); A&E Lawn &
 Garden, LLC (5028); A&E Signature Service, LLC (0204); FBA Holdings Inc. (6537); Innovel Solutions, Inc.
 (7180); Kmart Corporation (9500); MaxServ, Inc. (7626); Private Brands, Ltd. (4022); Sears Development Co.
 (6028); Sears Holdings Management Corporation (2148); Sears Home & Business Franchises, Inc. (6742); Sears
 Home Improvement Products, Inc. (8591); Sears Insurance Services, L.L.C. (7182); Sears Procurement Services,
 Inc. (2859); Sears Protection Company (1250); Sears Protection Company (PR) Inc. (4861); Sears Roebuck
 Acceptance Corp. (0535); Sears, Roebuck de Puerto Rico, Inc. (3626); SYW Relay LLC (1870); Wally Labs LLC
 (None); SHC Promotions LLC (9626); Big Beaver of Florida Development, LLC (None); California Builder
 Appliances, Inc. (6327); Florida Builder Appliances, Inc. (9133); KBL Holding Inc. (1295); KLC, Inc. (0839);
 Kmart of Michigan, Inc. (1696); Kmart of Washington LLC (8898); Kmart Stores of Illinois LLC (8897); Kmart
 Stores of Texas LLC (8915); MyGofer LLC (5531); Sears Brands Business Unit Corporation (4658); Sears Holdings
 Publishing Company, LLC. (5554); Sears Protection Company (Florida), L.L.C. (4239); SHC Desert Springs, LLC
 (None); SOE, Inc. (9616); StarWest, LLC (5379); STI Merchandising, Inc. (0188); Troy Coolidge No. 13, LLC
 (None); BlueLight.com, Inc. (7034); Sears Brands, L.L.C. (4664); Sears Buying Services, Inc. (6533); Kmart.com
 LLC (9022); and Sears Brands Management Corporation (5365). The location of the Debtors’ corporate
 headquarters is 3333 Beverly Road, Hoffman Estates, Illinois 60179.


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        FIRST JOINT MONTHLY FEE STATEMENT OF PAUL E. HARNER,
        AS FEE EXAMINER AND BALLARD SPAHR LLP, AS COUNSEL TO
        THE FEE EXAMINER, FOR COMPENSATION FOR PROFESIONAL
     SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED
        FOR THE PERIOD FROM APRIL 22, 2019 THROUGH MAY 31, 20192

                                        Summary Sheet

 Name of Applicants:                                Paul E. Harner, Fee Examiner
                                                    Ballard Spahr LLP, Counsel          to   Fee
                                                    Examiner

 Authorized to Provide Professional Services        The Fee Examiner
 to:

 Date of Retention:                                 Order entered April 22, 2019
                                                    [Dkt. No. 3307]

                                                    Order entered May 22, 2019
                                                    [Dkt. No. 3985], nunc pro tunc to April 22,
                                                    2019

 Period for Which Compensation             and      April 22, 2019 through and including May
 Reimbursement are Sought:                          31, 2019

 Amount of Compensation Sought as Actual,              Paul E. Harner, Fee Examiner: $96,700.50
 Reasonable and Necessary:                                        Ballard Spahr LLP: $70,525.50
                                                                              Total: $167,226.00
 80% of Compensation Sought as Actual,                 Paul E. Harner, Fee Examiner: $77,360.40
 Reasonable and Necessary                                         Ballard Spahr LLP: $56,420.40
                                                                              Total: $133,780.80
 100% of Expense Reimbursement Sought as                  Paul E. Harner, Fee Examiner: $456.25
 Actual, Reasonable and Necessary:                                   Ballard Spahr LLP: $711.00
                                                                                Total: $1,167.25


 This is a             X   Monthly           Interim               Final Fee Application




 2
   This statement includes fees and expenses incurred by or in behalf of the Fee Examiner during
 a brief period preceding his appointment. Such time and/or expenses were primarily related to
 the retention of the Fee Examiner and, therefore, benefit the estate



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                            TIME SUMMARY FOR FEE EXAMINER

 Timekeeper                 Position        Year       Rate        Hours    Fees
                                            Admitted
                                            to
                                            Practice
 Paul E. Harner             Partner            1988    $1,305.00     74.1     $96,700.50
 Total                                                               74.1     $96,700.50




        TIME SUMMARY FOR PROFESSIONALS AND PARAPROFESSIONALS

 Timekeeper                 Position        Year       Rate        Hours Fees
                                            Admitted
                                            to
                                            Practice
 Vincent J. Marriott, III   Partner            1982    $985.00       12.3     $12,115.50
 Tobey M. Daluz             Partner            1990    $895.00       10.3      $9,218.50
 Matthew G. Summers         Partner            2000    $725.00        2.9      $2,102.50
 Laurel D. Roglen           Associate          2012    $490.00       62.1     $30,429.00
 Chantelle D. McClamb       Associate          2011    $445.00        8.8      $3,916.00
 Kyle Neitzel               Paralegal          N/A     $350.00       17.0      $5,950.00
 Caroline P. Pollard        Paralegal          N/A     $310.00       11.9      $3,689.00
 Christopher Lano           Paralegal          N/A     $270.00       11.5      $3,105.00
 Total                                                             136.8      $70,525.50




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                       COMPENSATION BY TASK CODE FOR SERVICES
                             RENDERED BY FEE EXAMINER


         Project Category              Total Billed Hours      Total Fees Requested
 Fee/Employment Applications                           11.7                  $15,268.50
 Fee/Employment Objections                             62.4                  $81,432.00
 Total                                                 74.1                  $96,700.50




                 COMPENSATION BY TASK CODE FOR SERVICES
             RENDERED BY PROFESSIONALS AND PARAPROFESSIONALS


         Project Category              Total Billed Hours      Total Fees Requested
 Fee/Employment Applications                           42.1                  $23,008.50
 Fee/Employment Objections                             92.0                  $46,194.00
 Non-Working Travel                                     2.7                   $1,323.00
 Total                                                137.0                  $70,525.50




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                       EXPENSE SUMMARY FOR FEE EXAMINER

                                  Disbursements                               Amount
 Court conference appearance                                                     $0.25
 Air/Rail Expense                                                              $268.00
 Air/Rail Expense                                                              $188.00
 Total                                                                         $456.25



      EXPENSE SUMMARY FOR PROFESSIONALS AND PARAPROFESSIONALS

                                 Disbursements                                Amount
 Delivery service –Federal Express                                             $316.92
 L. Roglen Business Meals for hearing on Retention Application                  $33.00
 L. Roglen – Train to/from NY for hearing on Retention Application             $347.43
 Filing Fees                                                                    $13.65
 Total                                                                         $711.00




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        In accordance with the Order Authorizing Procedures for Interim Compensation and

 Reimbursement of Expenses of Professionals [Dkt. No 796] (the “Compensation Order”), Paul E.

 Harner, as Fee Examiner (the “Fee Examiner”) and Ballard Spahr LLP (“Ballard Spahr”),

 counsel to the Fee Examiner, hereby submit this Joint Fee Monthly Statement for Compensation

 for Professional Services Rendered and Expenses Incurred (the “Monthly Statement”) for the

 period from April 22, 2019 through May 31, 2019 (the “Statement Period”). In support of the

 Monthly Statement, the Fee Examiner and Ballard Spahr respectfully represent as follows:

                                        Relief Requested

        1.      The Fee Examiner and Ballard Spahr submit this Monthly Statement in

 accordance with the Compensation Order. All services for which the Fee Examiner and Ballard

 Spahr request compensation were performed by, or on behalf of, the Fee Examiner.

        2.      The Fee Examiner seeks compensation for professional services rendered and

 reimbursement of expenses incurred for the Statement Period in the amounts set forth below:

               Total Fees                                                   $96,700.50

               Total Expenses                                                  $456.25

               Total Amount Sought                                          $97,156.75



        3.      Ballard Spahr seeks compensation for professional services rendered and

 reimbursement of expenses incurred for the Statement Period in the amounts set forth below:

               Total Fees                                                   $70,525.50

               Total Expenses                                                  $711.00

               Total Amount Sought                                          $71,236.50




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        4.      A detailed statement of hours spent by the Fee Examiner rendering services

 during the Statement Period is attached hereto as Exhibit A. A detailed statement of the hours

 spent by Ballard Spahr rendering legal services to the Fee Examiner during the Statement Period

 is attached hereto as Exhibit B. A detailed list of disbursements made by the Fee Examiner is

 attached hereto as Exhibit C. A detailed list of disbursements made by Ballard Spahr is attached

 hereto as Exhibit D.

        5.      Pursuant to the Compensation Order, the Fee Examiner seeks $77,816.65 and

 Ballard Spahr seeks payment of $57,168.20 for the Statement Period, for a total of 134,984.05,

 representing 80% of the total fees for services rendered and 100% of the total expenses incurred.

                                 Notice and Objection Procedures

        6.      In accordance with the Compensation Order, notice of the Fee Statement has been

 served upon the following parties: Sears Holdings Corporation, 3333 Beverly Road, Hoffman

 Estates, Illinois 60179 (Attn: Rob Riecker, Luke Valentino, Esq.); Counsel for the Debtors, Weil,

 Gotshal & Manges LLP, 767 Fifth Avenue, New York, NY 10153 (Attn: Ray C. Schrock, P.C.,

 Esq., Jacqueline Marcus, Esq., Garrett A. Fail, Esq., and Sunny Singh, Esq.); the Office of the

 United States Trustee, 201 Varick Street, Suite 1006, New York, NY 10014 (Attn: Paul

 Schwartzberg, Esq., and Richard Morrissey, Esq.); Counsel for the Official Committee of

 Unsecured Creditors, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY

 10036 (Attn: Philip C. Dublin, Esq., Ira Dizengoff, Esq., and Sara Lynne Brauner, Esq.);

 Counsel for Bank of America, N.A., administrative agent under the First Lien Credit Facility and

 the DIP ABL Agent, Skadden, Arps, Slate, Meagher & Flom LLP, 4 Times Square, New York,

 NY 10036 (Attn: Paul D. Leake, Esq., Shana A. Elberg, Esq., and George R. Howard, Esq.),

 (collectively the “Notice Parties”).




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        7.      Pursuant to the Compensation Order, objections to the Monthly Statement, if any,

 must be served upon the Notice Parties, the Fee Examiner and Ballard Spahr, no later than July

 26, 2019 (the “Objection Deadline”) setting forth the nature of the objection and the amount of

 fees or expenses at issue.

        8.      If no objection to the Monthly Statement is received by the Objection Deadline,

 the Debtors will pay to the Fee Examiner and Ballard Spahr the 80% of amounts of fees and

 100% of the amounts of expenses identified in the Monthly Statement.

        9.      To the extent an objection to the Monthly Statement is received on or before the

 Objection Deadline, the Debtors will withhold payment of that portion of the Monthly Statement

 to which the objection is directed and promptly pay the remainder of the fees and expenses as set

 forth herein. To the extent such objection is not resolved, it shall be preserved and presented to

 the Court at the next interim or final fee application hearing to be heard by the Court.


 Dated: July 11, 2019                  /s/ Chantelle D. McClamb
                                       Vincent J. Marriott, III*
                                       BALLARD SPAHR LLP
                                       1735 Market Street, 51st Floor
                                       Philadelphia, PA 19103
                                       Tel: (215) 665-8500
                                       Fax: (215) 864-8999

                                       -and-

                                       BALLARD SPAHR LLP
                                       Tobey M. Daluz*
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                                       Counsel for the Fee Examiner



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